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                          UNITED STATES DISTRICT COURT
  7
                        CENTRAL DISTRICT OF CALIFORNIA
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  9   DANNY ALAN PAYTON,                      )   Case No.: 8:18-cv-02174-VEB
                                              )
 10               Plaintiff,                  )   ORDER AWARDING EQUAL
                                              )   ACCESS TO JUSTICE ACT
 11         vs.                               )   ATTORNEY FEES AND EXPENSES
                                              )   PURSUANT TO 28 U.S.C. § 2412(d)
 12   ANDREW SAUL,                            )   AND COSTS PURSUANT TO 28
      Commissioner of Social Security,        )   U.S.C. § 1920
 13                                           )
                  Defendant                   )
 14                                           )
                                              )
 15
 16         Based upon the parties’ Stipulation for the Award and Payment of Equal
 17   Access to Justice Act Fees, Costs, and Expenses:
 18         IT IS ORDERED that fees and expenses in the amount of $3,700.00 as
 19   authorized by 28 U.S.C. § 2412, and costs in the amount of $400.00 as authorized
 20   by 28 U.S.C. § 1920, be awarded subject to the terms of the Stipulation.
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 22   DATE:       April 20, 2020            /s/Victor E. Bianchini
                                            VICTOR E. BIANCHINI
 23                                         UNITED STATES MAGISTRATE JUDGE
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